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lN THE UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF DELAWARE
WARDELL LEROY GILES,
P|aintiff,
Civ. No. 16-1035-SLR

V.

DEPART|\/|ENT OF CORRECT|ON,
et a|.,

Defendants.
MEMORANDUM

1. lntroduction. Plaintiff Warde|l Leroy Gi|es ("plaintiff”), an inmate at the
James T. Vaughn Correctional Center, Smyrna, De|aware, proceeds pro se and has
been granted in forma pauperis status. When he commenced this action, he Was
housed at the Sussex Correctional institution in Georgetown, De|aware. He filed this
complaint pursuant to 42 U.S.C. § 1983 claiming violations of his constitutional rights.
(D.|. 1, 7)

2. Standard of Review. A federal court may properly dismiss an action sua
sponte under the screening provisions of 28 U.S.C. § 1915(e)(2)(B) and § 1915A(b) if
“the action is frivolous or malicious, fails to state a claim upon which relief may be
granted, or seeks monetary relief from a defendant Who is immune from such relief."
Ba/l v. Famiglio, 726 F.3d 448, 452 (3d Cir. 2013); see also 28 U.S.C. § 1915(e)(2) (in
forma pauperis actions); 28 U.S.C. § 1915A (actions in Which prisoner seeks redress
from a governmental defendant); 42 U.S.C. § 1997e (prisoner actions brought With
respect to prison conditions). The court must accept all factual allegations in a

complaint as true and take them in the light most favorable to a pro se plaintiff. Phil/ips

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v. County of A/legheny, 515 F.3d 224l 229 (3d Cir. 2008); En'ckson v. Pardus, 551 U.S.
89, 93 (2007). Because plaintiff proceeds pro se, his pleading is liberally construed and
his complaint, “however inartfully pleaded, must be held to less stringent standards than
formal pleadings drafted by |awyers." Erickson v. Pardus, 551 U.S. at 94 (citations
omitted).

3. An action is frivolous if it “lacks an arguable basis either in law or in fact.”
Neitzke v. l/l/i/liams, 490 U.S. 319, 325 (1989). Under 28 U.S.C. § 1915(e)(2)(B)(i) and
§ 1915A(b)(1), a court may dismiss a complaint as frivolous if it is “based on an
indisputably meritless legal theory" or a “clear|y baseless” or “fantastic or delusional"
factual scenario. Neitzke, 490 at 327-28; Wilson v. Rackmi//, 878 F.2d 772, 774 (3d Cir.
1989); see, e.g., Deutsch v. United States, 67 F.3d 1080, 1091-92 (3d Cir. 1995)
(holding frivolous a suit alleging that prison officials took an inmate's pen and refused to
give it back).

4. The legal standard for dismissing a complaint for failure to state a claim
pursuant to § 1915(e)(2)(B)(ii) and § 1915A(b)(1) is identical to the legal standard used
When ruling on Rule 12(b)(6) motions. Tourscher v. McCu/lough, 184 F.3d 236, 240 (3d
Cir. 1999) (applying Fed. R. Civ. P. 12(b)(6) standard to dismissal for failure to state a
claim under § 1915(e)(2)(B)). However, before dismissing a complaint or claims for
failure to state a claim upon Which relief may be granted pursuant to the screening
provisions of 28 U.S.C. §§ 1915 and 1915A, the court must grant plaintiff leave to
amend his complaint unless amendment would be inequitable or futile. See Grayson v.

Mayview State Hosp., 293 F.3d 103, 114 (3d Cir. 2002).

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5. A well-pleaded complaint must contain more than mere labels and
conclusions See Ashcroft v. lqbal, 556 U.S. 662 (2009); BellAt/. Corp. v. Twomb/y,
550 U.S. 544 (2007). A plaintiff must plead facts sufficient to show that a claim has
substantive plausibility. See Johnson v. City of Shelby, __U.S.__, 135 S.Ct. 346, 347
(2014). A complaint may not dismissed, however, for imperfect statements of the legal
theory supporting the claim asserted See id. at 346.

6. Under the pleading regime established by Twombly and /qba/, a court
reviewing the sufficiency of a complaint must take three steps: (1) take note of the
elements the plaintiff must plead to state a claim; (2) identify allegations that, because
they are no more than conclusions, are not entitled to the assumption of truth; and
(3) when there are well-pleaded factual allegations, the court should assume their
veracity and then determine whether they plausibly give rise to an entitlement to relief.
Connelly v. Lane Const. Corp., 809 F.3d 780, 787 (3d Cir. 2016) (interna| citations and
quotations omitted). Elements are sufficiently alleged when the facts in the complaint
“show” that the plaintiff is entitled to relief. lqba/, 556 U.S. at 679 (quoting Fed. R. Civ.
P. 8(a)(2)). Deciding whether a claim is plausible will be a “context-specific task that
requires the reviewing court to draw on its judicial experience and common sense." ld.

7. The Original Complaint. Named as defendants are the Delaware
Department of Correction (“DOC") and unnamed persons.1 (D.|. 1 at 1, 3) Whi|e not

clear, it appears plaintiff contends that the sentence imposed upon him as a result of

 

1The court docket refers to defendants Offlcer Justice (“Justice”) and Officer
Downes (“Downes"). The claims against these defendants will be addressed later in
this memorandum. See1111 14, 15, supra.

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his violation of probation (“VOP") exceeds the amount of time that could be lawfully
imposed upon him in violation of the right to due process Exhibits attached to the
original complaint include plaintist motion for a writ of habeas corpus that he filed in
the Superior Court of the State of Delaware in and for Sussex County (“Superior Court”)
that claims plaintiff is being held illegally pursuant to an administrative warrant for
violation of probation. (D.l. 1, ex. A) The motion contends that the administrative
warrant and violation were unlawful because plaintiff had completed all the terms of
probation and his sentence had been completed before imposition of the VOP sentence
on January 21, 2016. (ld.)

8. On April 6, 2016, the Superior Court denied the motion for writ of habeas
corpus. (ld. at ex. B) The letter/order stated that plaintiff was being held without bail
pursuant to an administrative warrant, that a VOP hearing had been scheduled for April
8, 2016, and that plaintiff was not being held illegal|y. (ld.) The Superior Court entered
a second letter/order on April 6l 2016 denying plaintiffs motion for correction of an
illegal sentence finding the motion without merit and noting that the DOC had confirmed
that plaintiff had served 211 days of plaintiffs 5 year level 5 sentence. (ld. at ex. D)

9. On January 3, 2017, plaintiff filed a notice of appeal from a December 9,
2016 Superior Court order that found plaintiff in violation of his probation. See Giles v.
State, Docket No. 6,2017 (Del. Jan. 3, 2017, at BL-1, BL-3). On January 19, 2017,
plaintiff filed a “motion to vacate illegal sentence and over-sentence to go with appeal"
construed as his opening brief. (ld. at BL-7) On February 6, 2017, the State nled its
answering brief noting that plaintiff did not contest the Superior Court’s decision that he

violated his probation but, rather, he asserted that his VOP sentence was calculated

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incorrect|y, and his sentence exceeded the amount that could be lawfully imposed. (ld.
at BL-15) On l\/larch 15, 2017, the Supreme Court of the State of Delaware directed the
State to provide it a transcript of the October 14, 2016 VOP hearing, and the State
submitted it the same day. (ld. at BL-34, BL-35) The case remains pending on appeal.

10. Younger Abstention Doctrine. As evidenced by the exhibits plaintiff has
submitted~in support of his complaint, he has a criminal matter pending in the Delaware
State Courts. The court takes judicial matter that the case is currently on appeal in the
Supreme Court of the State of Delaware and that plaintiff has raised an issue nearly
identical to that raised in his initial complaint Notably, the criminal action has not yet
reached final resolution.

11. Under the Younger abstention doctrine, a federal district court must abstain
from hearing a federal case which interferes with certain state proceedings2 See
Younger v. Harris, 401 U.S. 37 (1971). ln Younger, the United States Supreme Court
“established a principle of abstention when federal adjudication would disrupt an
ongoing state criminal proceeding.” Yang v. Tsui, 416 F.3d 199, 202 (3d Cir. 2005)
(discussing Younger, 401 U.S. 37 (1971)). Younger abstention “is premised on the
notion of comity, a principle of deference and ‘proper respect’ for state governmental
functions in our federal system." Evans v. Court of Common P/eas, Delaware Cnty.,
Pa., 959 F.2d 1227, 1234 (3d Cir. 1992). Comity concerns are especially heightened

when the ongoing state governmental function is a criminal proceeding /d.

 

2The court may raise the issue of Younger abstention sua sponte. O'Neill v. City
ofPhi/adelphia, 32 F.3d 785l n.1 (3d Cir. 1994).

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12. Abstention is appropriate only when: (1) there are ongoing state proceedings
that are judicial in nature; (2) the state proceedings implicate important state interests;
and (3) the state proceedings provide an adequate opportunity to raise the federal
claims Lazaridis v. l/Vehmer, 591 F.3d 666, 670 (3d Cir. 2010). The doctrine applies to
proceedings until all appellate remedies have been exhausted, unless the matter falls
within one of the Younger exceptions3 Huffman v. Pursue Ltd., 420 U.S. 592, 608
(1975).

13. The Younger elements have been met and none of its exceptions apply.
First, there are on-going criminal proceedings based upon plaintiffs violation of
probation. Second, the issue raised by plaintiff concerning the validity of his sentence
clearly implicates important State interests Final|y, plaintiff has an adequate
opportunity to raise issues regarding his sentence in Delaware State courts as he is
currently doing, and plaintiff has not asserted that he is unable to present his federal
claims in his related State court proceedings Based upon the foregoing, under the
Younger abstention doctrine, the court must abstain from exercising jurisdiction over
plaintiffs claims, and the original complaint (D.|. 1) must be dismissed.

14. Amended Complaint. The court next turns to the amended complaint (D.l.
7) filed by plaintiff in late December 2016. Therein, plaintiff names two new

defendants Justice and Downes, and raises excessive force claims that are totally

 

3Exceptions to the Younger doctrine exist where irreparable injury is “both great
and immediate," Younger, 401 U.S. at 46, where the state law is “flagrantly and patently
violative of express constitutional prohibitions,” id. at 53, or where there is a showing of
"bad faith, harassment, or . . . other unusual circumstances that would call for equitable
relief.” ld. at 54.

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unrelated to the issues raised in the original complaint “The Prison Litigation Reform
Act of 1995 (“PLRA"), Which substantially changed the judicial treatment of civil rights
actions by state and federal prisoners also compels compliance with Rule 20.
Specifically, under the PLRA the full filing fee must ultimately be paid in a non-habeas
action. Allowing a prisoner to include a plethora of separate, independent claims,
would circumvent the filing fee requirements of the PLRA.” Mincy v. K/em, 2007 WL
1576444, at *1 (lVl.D. Pa. lVlay 30, 2007). See George v. Smith, 507 F.3d 605, 507 (7th
Cir. 2007) ("The “[u]nrelated claims against different defendants belong in different
suits, not only to prevent the sort of morass that this [multiple]-claim, [multiple]-
defendant suit produced but also to ensure that prisoners pay the required filing fees.").
See also Smith v. Kirby, 53 F. App’x 14, 16 (10th Cir. 2002) (unpublished) (f”lnding no
abuse of discretion where district court denied leave to amend or supplement the
complaint where the "new claims were not relevant to the claims before that court. . . .”).

15. As mentioned, the amended complaint adds unrelated claims and new
defendants and, because of this, it violates Fed. R. Civ. P. 20(a). While joinder is
encouraged for purposes ofjudicial economyl the “Federal Rules do not contemplate
joinder of different actions against different parties which present entirely different
factual and legal issues.” Zhu v. Countrywide Realty Co., Inc., 160 F. Supp. 2d 1210,
1225 (D. Kan. 2001) (citation omitted). Accordingly, the court will direct the C|erk of
Court to open a new civil case with the amended complaint (D.|. 7) as its operative
pleading, titled Wardell Leroy Giles v. Officer Justice and Officer Downes. Pursuant to
the requirements of 28 U.S.C. § 1915(a)(1) and (2), and in order to determine the

schedule of payment of the filing fee, plaintiff will be required to submit to the C|erk of

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Court, a request to proceed in forma pauperis and a certified copy of his prison trust
fund account statement for the newly opened case.

16. E-Fi|ing Pi|ot Program. On l\/|arch 15, 2017, the C|erk’s Office received via
regular mail, and not through the VCC law library’s e-mail/e-filing system, documents
plaintiff titled "record evidence exhibits.” (D.|. 16) The VCC participates in an e-flling
pilot program with the court, see September 8, 2016 standing order, ln re.' Pilot Program
for E-Fi/ing Documents in the District of Delaware by inmates at the James T. Vaughn
Correctional Center, and inmate participation is mandatory. The program was initiated
to reduce the costs of filings by inmates which includes an inmate's mailing and
photocopying costs. ln no way does the e-filing pilot program deny inmates access to
the courts When inmates do not follow the mandates of the e-filing program, they are
sent a deficiency notice and advised that the non-conforming document will be
docketed but not considered until the deficiency is corrected Plaintiff was sent a
deficiency notice after he sent items for filing through the regular mail,

17. ln response, plaintiff challenges the requirement that he participate in the e-
fi|ing pilot program, and filed a motion to compel stating that he will not participate in the
program before service by the United States l\/larshals Service (“US|V|S") or at all. (D.|.
18) Plaintiff’s position is that the State, the DOC, and defendants should not know
about a complaint until after the court orders the USl\/lS to serve the complaint He
contends that this process safeguards plaintiff from open and blatant retaliation and
sabotage (apparently because he has filed a lawsuit). He argues that requiring e-t"i|ing
prior to issuance of a service order gives defendants premature notice of the action and

allows defendants to search and destroy documents evidence, and exhibits before they

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can be secured by plaintiff Final|y, plaintiff contends that the reason for the USl\/lS
service order and execution is to stop the chance of premature retaliation and
sabotage. Plaintiff believes that all filings prior to issuance of a service order and
execution should be exempt from the e-filing program.

18. Plaintiff’s concerns are unfounded Firstl documents filed in this court are
available for public viewing by anyone, party or non-party, without regard to the
issuance of a service order. lt is well-established that there is a “common law public
right of access to judicial proceedings and records.” /n re Cendant Corp., 260 F.3d
183, 192 (3d Cir. 2001). This is consistent with well-established precedent, based on
First Amendment considerations and the common law right of access to judicial
records that documents filed with the court and judicial proceedings are open to the
public. See Nixon v. Warner Commc’ns, /nc., 435 U.S. 589, 597 (1978). Second,
orders are issued for service by the USl\/lS to serve process in cases where a plaintiff
proceeds in forma pauperis and not, as plaintiff believes to prevent premature notice to
defendants See 28 U.S.C. § 1915(d). As just discussed, filings are available for the
public immediately upon docketing by the court,

19. Third, plaintiff speculates that should he participate in the e-fi|ing program,
future defendants will destroy evidencel documents and exhibits before they can be
secured by plaintiff lt is well-settled that “[a] party which reasonably anticipates
litigation has an affirmative duty to preserve relevant evidence.” Bowman v. Am. Med.
Sys. /nc., 1998 WL 721079, at *3 (E.D. Pa. Oct. 9, 1998). “Spoliation is ‘the destruction
or significant alteration of evidence, or the failure to preserve property for another's use

as evidence in pending or reasonably foreseeable litigation."' Mosaid Techs., Inc. v.

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Samsung Eiec. Co., Ltd‘, 348 F. Supp. 2d 332l 335 (D.N.J. 2004). Should future
defendants destroy documents evidence, or exhibits “[e]vidence of spo|iation may give
rise to sanctions [which] include: dismissal of a claim or granting judgment in favor of a
prejudiced party; suppression of evidenoe; an adverse inference referred to as the
spoilation inference; fines; and attorneys’ fees and costs.”’ Mosaid 'i`ecths.1 348 F. Supp.
2d at 335). There have been few problems since the October 3, 2016 inception of the
e-fi|ing pilot program (most equipment related), and none that are remotely close to
plaintist concerns

20. Here, plaintiff indicates that he will not participate in the program before
service by the USNlS. ln the instant case, the original complaint will be dismissed and a
service order will not issue ln light of the foregoing, the court will deny plaintiff’s motion
as moot and without prejudice (D.|. 18) The court Wil| entertain future motions should
plaintiff continue to have concerns regarding his participation in the e-filing pilot
program

21. Conclusion. For the above reasons the court will: (1) dismiss the
complaint (2) deny as moot and without prejudice the motion to compel (D.|. 18); and
(3) direct the C|erk of Court to open a new case as outlined above with the amended

complaint (D.|l 7) as the operative pleading A separate order shall issue

Dated: April@, 2017 M MW

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